
The Office of Attorney Ethics having filed with the Court a petition pursuant to Rule 1:20-3(g) (4) and Rule 1:20-11, seeking the immediate temporary suspension from practice of Adam Luke Brent of Vineland, who was admitted to the bar of this State in 2003, and good cause appearing;
It is ORDERED that Adam Luke Brent is temporarily suspended from the practice of law, effective immediately and until the further Order of this Court; and it is further
ORDERED that Adam Luke Brent be restrained and enjoined from practicing law during the period of his suspension; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained by Adam Luke Brent pursuant to Rule 1:21-6 be restrained from disbursement except on application to this Court, for good cause shown, and shall be transferred by the financial institution to the Clerk of the Superior Court, who is directed to deposit the funds in the Superior Court Trust Fund pending the further Order of this Court; and it is further
ORDERED that Adam Luke Brent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of the respondent's file as an attorney at law of this State.
